
510 N.W.2d 312 (1994)
244 Neb. 936
RICHDALE DEVELOPMENT COMPANY, a Nebraska Partnership, Appellant,
v.
McNEIL COMPANY, INC., A Nebraska Corporation, Appellee.
No. S-91-814.
Supreme Court of Nebraska.
January 21, 1994.
Jeffrey A. Silver, Omaha, for appellant.
David D. Ernst and Lisa M. Meyer, of Gaines, Mullen, Pansing &amp; Hogan, Omaha, for appellee.
*313 HASTINGS, C.J., BOSLAUGH, CAPORALE, FAHRNBRUCH, and LANPHIER, JJ.
PER CURIAM.
Upon motion for rehearing, the motion is overruled; however, the opinion previously adopted by this court, Richdale Dev. Co. v. McNeil Co., 244 Neb. 694, 508 N.W.2d 853 (1993), is hereby modified by striking therefrom all that portion of the opinion beginning "The judgment of the district court is affirmed," down to and including the end of the opinion. Id. at 707, 508 N.W.2d at 861. The following is substituted therefor:
The Congress having preempted forum jurisdiction as to claims involving copyright, both this court and the district court are without jurisdiction in this case. Such lack of jurisdiction may not be waived by the parties, nor need it be asserted as an affirmative defense. The cause is remanded to the district court with directions to dismiss the cause and to dissolve the existing injunction.
REMANDED WITH DIRECTIONS.
WHITE, J., participating on briefs.
SHANAHAN, J., not participating.
